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U.S. District Court for the Northern District Of illinois
Attorney Appearance Form

 

Case Tit|e: §ira\( Thakl|_<€év'etogwen Loan Case Number: 1215-CV-10199
ervrclng, , .

An appearance is hereby filed by the undersigned as attorney for:
A|tisource Solutions, |nc.

Attorney name (type or print):Adrian l\/iendoza
Firm: Lil|ig & Thorsness, Ltd.

Street address: 1900 Spring Road, Suite 200
City/State/Zip: Oak Brook, |L 60523

Bal‘ lD NUmbei’Z 6225634 Telephone Number; 630-571-1900
(See item 3 in instructions)

Email Address: amendoza@|illig|aw.com

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Are you acting as lead counsel in this case? \/ Yes No
Are you acting as local counsel in this case? Yes \/ No
Are you a member of the court’s trial bar? 21 Yes No
if this case reaches trial, will you act as the trial attorney? \/ Yes No
lf this is a criminal casel check your status Retained Counse|

 

 

 

 

Appointed Counse|
|f appointed counse|, are you

 

 

Federa| Defender
CJA Panel Attorney

 

 

 

 

 

 

in order to appear before this Court an attorney must either be a member in good standing of this Court’s

general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
l declare under penalty cf perjury that the foregoing is true and correct Under 28 U.S.C.§'l746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 5/25/2018

Attorney signature: S/ Adrian |Vl€‘ndOZG
(Use electronic signature if the appearance form is filed electronical|y.)

Revised 8»'1.'2015

